                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                    AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL ERWIN,
 MICHAEL B. ACKERMAN, and KYLE
 FOREMAN, individually and on behalf of all
 others similarly situated,

               Plaintiffs,
         v.                                             Case No. 4:24-cv-00803-SRB

 EXXON MOBIL CORPORATION, CHEVRON
 USA INC., CHEVRON PHILLIPS CHEMICAL
 CORPORATION, DUPONT de NEMOURS,
 INC., DUPONT CORPORATION, CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY, LYONDELLBASELL
 INDUSTRIES N.V., and AMERICAN
 CHEMISTRY COUNCIL,

               Defendants.

                SPECIALLY APPEARING DEFENDANT EXXON MOBIL
                   CORPORATION’S MOTION TO RECONSIDER

        COMES NOW specially appearing defendant Exxon Mobil Corporation

(“ExxonMobil”), by and through its undersigned counsel, and moves the Court to

reconsider its order denying ExxonMobil’s motion to transfer venue (Doc. 3) and motion

to stay proceedings (Doc. 5) as moot (“Order”) (Doc. 49). On January 17, 2025, Plaintiffs

filed a consolidated response to ExxonMobil’s motions (Doc. 47), making ExxonMobil’s

reply suggestions due January 31, 2025 under Western District of Missouri Local Rule

7(c)(3). Based on Plaintiffs’ misstatement of the law, the Court issued its Order on

January 21, 2025, before ExxonMobil had an opportunity to reply.

        As discussed in greater detail below, Plaintiffs dismissal of Ford County, Kansas

v. Exxon Mobil Corp., et al., D. Kan. Case No. 2:24-cv-02547 (“Ford County”) does not


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moot ExxonMobil’s motions, the “first-filed” doctrine still applies, Plaintiffs’ forum shopping

should not be condoned, and transfer is still appropriate. ExxonMobil respectfully

requests the Court reconsider its January 21 Order denying ExxonMobil’s transfer motion

as moot and reach the merits of ExxonMobil’s motions to transfer this case to the District

of Kansas and stay this case pending the decision on the motion to transfer.

    I.       Background

         ExxonMobil’s motion to transfer venue seeks an order from this Court transferring

this case to the District of Kansas. (Doc. 3). In its suggestions in support, ExxonMobil

explained that nineteen days before this action was filed, Plaintiffs’ counsel filed Ford

County, naming the same defendants named in this case. (Doc. 4 at 1-2). Plaintiffs now

admit that the Ford County factual averments and the injunctive relief sought are nearly

identical. (Doc. 47). Thus, the “first-filed” rule compels transfer of this case to the District

of Kansas. In its motion to stay proceedings, ExxonMobil also requested that the Court

stay this case pending its decision on the motion to transfer venue. (Doc. 5).

         Plaintiffs’ consolidated response to ExxonMobil’s motions admits the underlying

rationale for transfer and stay and offers no analysis of the pending issues, instead

declaring that its dismissal of the first-filed Kansas action allegedly moots ExxonMobil’s

motions. (Doc. 47). Specifically, Plaintiffs informed the Court that “[u]pon consideration of

Defendant Exxon Mobil’s arguments regarding the overlap of allegations and parties to

the two cases, and for purposes of judicial efficiency and economies, Plaintiffs, as

masters of their own Complaint, voluntarily dismissed Ford County in the District of

Kansas.” (Doc. 47 at 2). Plaintiffs attached that notice of dismissal (Doc. 47-1) and

incorrectly represented to the Court that ExxonMobil’s transfer and stay motions are moot



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as a result, requiring “no further response.” (Doc. 47 at 2). After ExxonMobil had drawn

attention to the indicia of forum shopping in its suggestions in support of its motion to

transfer, Plaintiffs confirmed those motivations by dismissing Ford County and amending

the complaint in this case to add the Ford County public nuisance claim. (Doc. 48). 1

           On January 21, 2025, before ExxonMobil had an opportunity to file a reply

correcting Plaintiffs’ assertion that the transfer motion is moot, the Court accepted

Plaintiffs’ response rationale and denied both motions, stating, “as Plaintiff has voluntarily

dismissed his parallel lawsuit in the District of Kansas, the motions are DENIED AS

MOOT” (Doc. 49) (emphasis in original).

    II.       Standards Governing Reconsideration

           A Court may reconsider a prior interlocutory order “if the moving party

demonstrates (1) that it did not have a fair opportunity to argue the matter previously, and

(2) that granting the motion is necessary to correct a significant error.” Provisur Techs.,

Inc. v. Weber, Inc., No. 21-cv-06113-SRB, 2024 WL 4919540, at *1 (W.D.Mo. Oct. 24,

2024) (slip copy) (quoting Disc. Tobacco Warehouse, Inc. v. Briggs Tobacco & Specialty

Co., No. 3:09-CV-05078-DGK, 2010 WL 3522476, at *2 (W.D. Mo. Sept. 2, 2010).

    III.      The Court should reconsider its order denying ExxonMobil’s motions to
              transfer venue and to stay proceedings as moot because ExxonMobil
              did not have a fair opportunity to reply to Plaintiffs’ response and
              reconsideration is necessary to correct a significant error.

           Under Western District Local Rule 7(c), any moving party may file reply

suggestions “[w]ithin 14 days after the opposing suggestions” to the party’s motion are

filed. Here, Plaintiffs filed their response to ExxonMobil’s motions to transfer venue and


1 It should be noted that putative plaintiffs in the Amended Complaint include “[a]ll counties, cities, and

municipalities located within the United States and its territories….” (Doc. 48, at 163). This presumably
encompasses the City of Kansas City, Missouri as a plaintiff in this litigation.

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to stay proceedings on January 17, 2025, so ExxonMobil had until January 31 to file its

reply. Notwithstanding, based on the Plaintiffs’ incorrect assertion that the dismissal of

the District of Kansas action mooted the transfer motion, the Court denied ExxonMobil’s

motions as moot on January 21, ten days before ExxonMobil’s reply suggestions were

due. This denied ExxonMobil “a fair opportunity to argue the matter[s]” contained in the

reply it planned to file. Provisur, 2024 WL 4919540, at *1.

          The assertion that ExxonMobil’s transfer motion is moot is a “significant error”

warranting reconsideration and because the Court ruled before ExxonMobil had an

opportunity to file its reply brief, ExxonMobil did not have an opportunity to respond to

Plaintiffs’ error. In fact, dismissal of a “first filed” action does not moot a motion to transfer

a later-filed action to the initial case’s venue. Accordingly, the Court should reconsider its

order denying ExxonMobil’s motions to transfer venue as moot and should consider the

merits of ExxonMobil’s motion to transfer and stay proceedings.

    IV.      Plaintiffs’ voluntary dismissal of Ford County does not bar transfer
             under the “first-filed” doctrine.

          Transfer is still appropriate pursuant to the first-filed rule even, and sometimes

more so, when the first-filed case has been dismissed. In situations like the one at hand,

where Plaintiffs’ counsel “has taken calculated steps in filing, serving, and dismissing

cases -- all seemingly with the intent to choose what it views as the best jurisdiction in

which to proceed,” such “indicia of forum shopping” weighs in favor of, not against,

transfer. Abreu v. Pfizer, Inc., No. 21-62122-CIV, 2022 WL 2355541, at *13 (S.D. Fla.

June 22, 2022), report and recommendation adopted, 2022 WL 3370932 (S.D. Fla. Aug.

16, 2022).




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        A.     Transfer remains appropriate under the first-filed rule when the first-
               filed action has been dismissed.

        Voluntary dismissal of the Ford County action did not moot ExxonMobil’s transfer

motion, as courts frequently transfer cases to jurisdictions where no pending case exists,

and courts have regularly transferred second-filed actions to first-filed venues where the

earlier filed action has already been dismissed. The lack of a pending case in the

transferee jurisdiction does not moot a motion to transfer or to stay. Moreover, the District

of Kansas retains a degree of jurisdiction over Ford County notwithstanding that case’s

dismissal. See, e.g., Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395-99 (1990)

(recognizing that “[i]t is well established that a federal court may consider collateral issues

after an action is no longer pending”).

        The above general principals regarding transfer to a district with no active case are

exemplified in cases applying the first-filed doctrine post dismissal in the transferee court.

For example, in Young v. L’Oreal USA, Inc., 526 F. Supp. 3d 700, 706 (N.D. Cal. 2021),

the Northern District of California considered whether the “first-filed” doctrine warrants

transfer “even though the first-filed action is no longer pending in either the district or

appellate courts[.]” There, a putative class of plaintiffs filed suit alleging the defendant’s

cosmetic products suffered from labeling and packaging defects. Id. at 702. Two years

before that action commenced, the same attorneys representing the plaintiffs in the

California case filed a nearly identical action against the same defendant in the Southern

District of New York. Id. at 703. The New York court dismissed the plaintiffs’ complaint,

which the Second Circuit affirmed. Id. at 703–04. While the Second Circuit appeal was

pending, plaintiffs’ counsel filed the nearly identical suit in California. Id.




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        Upon defendant’s motion, the Northern District of California transferred the case

to the Southern District of New York even though the court in the first-filed case had

dismissed, in its entirety, the first case in a decision affirmed on appeal. Id. at 706-08. The

Northern District explained that “a court is not stripped of its discretion to apply the first-

to-file rule even though the first-filed action is no longer pending.” Id. at 706 (citing Alul v.

Am. Honda Motor Co., Inc., No. No. 16-cv-04384-JST, 2016 WL 7116934, at *1, 6 (N.D.

Cal. Dec. 7, 2016); Exec. Law Grp., Inc. v. Exec. Law Grp. PL, No. SACV 13-01823 MMM,

2014 WL 12577090, at *3 (C.D. Cal. Mar. 24, 2014)).

        A more recent decision reached the same result. In Johnson v. Siemens Indus.,

Inc., No. 23-cv-01562-RS, 2023 WL 4686015 (N.D. Cal. July 21, 2023), the plaintiffs’

attorney previously filed two class action suits against the same defendant: one in the

Central District of California and the second in California state court, which was then

removed to the Northern District of California. Id. at *1. In Johnson the Northern District

found that the first-filed doctrine warranted transfer despite dismissal of the earlier cases.

Id. at *4. It explained, “[a]lthough the named plaintiff is different, the same counsel is

endeavoring to bring the same claims on behalf of the same class,” which the Court called

an “inescapable” example of “intentional shopping for a different result[.]” Id. at *3. So,

while “dismissal of an earlier-filed case may render some of the considerations behind

the rule moot in certain circumstances, the forum shopping concern remains.” Id. at *4

(emphasis added). The “forum shopping concern” is also at issue here and weighs

strongly in favor of transfer under the first-filed rule. For this reason, the Court should

reconsider its Order.




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        B.    Evidence of forum shopping weighs in favor of, rather than mooting,
              transfer under the first-filed rule.

        Plaintiffs’ counsel here – the same attorneys who filed Ford County – filed this

action against an identical set of defendants and based on the same factual allegations

seeking identical injunctive relief. When ExxonMobil drew attention to the indicia of forum

shopping in its suggestions in support of its motion to transfer, Plaintiffs confirmed those

motivations by dismissing Ford County and amending the complaint in this case to add

the Ford County public nuisance claim. (Doc. 48).

        Plaintiffs’ actions in filing, never seeking service in, and then dismissing Ford

County evinces the “calculated steps” Plaintiffs have undertaken in “filing, serving, and

dismissing cases” with “the intent to choose what it views as the best jurisdiction in which

to proceed” – this Court. Abreu, 2022 WL 2355541, at *13 (applying first-filed rule to

recommend transfer of a case despite both a voluntary dismissal and a dismissal on the

merits of cases in the first district, noting that Plaintiff’s counsel’s earlier voluntary

dismissal of a first-filed case weighed in favor of, not against, transfer).

        These considerations apply equally in this Circuit. The Eighth Circuit has stated

explicitly that “it is inappropriate for a plaintiff to use voluntary dismissal as an avenue for

seeking a more favorable forum.” Thatcher v. Hanover Ins. Grp., Inc., 659 F.3d 1212,

1214 (8th Cir. 2011). Plaintiffs should not be permitted to run afoul of this Eighth Circuit

policy by voluntarily dismissing the first-filed Ford County and joining the public nuisance

claim to the second-filed Rodriguez in an effort to moot ExxonMobil’s motion to transfer

and choose what Plaintiffs apparently perceive as a more favorable forum.

        Instead of repudiating the law and analysis offered by ExxonMobil in support of its

motion for transfer, Plaintiffs’ actions and response to the motion admit the overlap in the


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cases and demonstrates Plaintiffs’ motivations. This conduct underscores the merits of

ExxonMobil’s motion.

    V.       The Court should stay these proceedings until it decides ExxonMobil’s
             motion to transfer.

         Plaintiffs similarly did not respond to ExxonMobil’s motion to stay proceedings

other than to claim that motion was moot due to the Ford County voluntary dismissal. As

explained above, ExxonMobil’s transfer motion is not moot because the Court may still

apply the first-filed rule and transfer this case. For the same reason, ExxonMobil’s request

to stay these proceedings pending adjudication of the motion to transfer is not moot.

         If anything, a stay is more warranted now than before given Plaintiffs’ recent

amended complaint 2 incorporating Ford County, Kansas as a plaintiff and raising the

public nuisance claim in this suit. (Compare Doc. 48, ¶¶ 205-16 with Doc. 4-1, ¶¶ 154-

165). It would betray all sense of judicial economy to require Defendants to prepare

responsive pleadings or Rule 12(b) motions (in turn requiring Plaintiffs to prepare their

own responses) while this Court weighs ExxonMobil’s transfer motion. As ExxonMobil

explained in its motion to stay, “once a party files a transfer motion, disposing of that

motion should unquestionably take top priority.” In re Apple Inc., 979 F.3d 1332, 1337

(Fed. Cir. 2020) (emphasis added). ExxonMobil’s request to stay this case comports with

the principle of judicial economy, and Plaintiffs did not provide any analysis or argument

to the contrary. 3


2 Plaintiffs’ addition of the
                           public nuisance cause of action to the Rodriguez complaint precipitated no
substantive changes to the factual allegations. (Compare Doc. 1, ¶¶ 26–147 with Doc. 48, ¶¶ 34–155).
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  In their response to the motions to transfer and stay, Plaintiffs assert a non-germane jurisdictional waiver
argument, suggesting ExxonMobil’s limited appearance is somehow unsupported by law. For support,
Plaintiff’s’ cite to Insurance Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 704
(1982) (Doc. 47 n.1.). The holding in Insurance Corp of Ireland is not applicable here. There, the Supreme
Court discussed instances where personal jurisdiction may be waived, by contract, stipulation or arbitration

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                                                Conclusion

        ExxonMobil respectfully requests that this Court reconsider its Order denying

ExxonMobil’s motion to transfer based on the first filed rule as moot and consider the

merits of ExxonMobil’s motion and grant ExxonMobil’s motions to transfer this case to the

District of Kansas and stay this case pending the decision on the motion to transfer venue.


Dated: January 22, 2025                                     Respectfully submitted,

                                                            LATHROP GPM LLP

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                                                                 -AND-


agreements, “voluntary use of certain state procedures,” including filing a cross-action, id. at 704, or “filing
a plea in abatement, or taking the question to a higher court.” Chicago Life Ins. Co. v. Cherry, 244 U.S. 25,
30 (1917) (cited in Insurance Corp. of Ireland, 456 U.S. at 704). ExxonMobil has not waived personal
jurisdiction by these acts or otherwise. There is no contract, stipulation or arbitration agreement, and
ExxonMobil has not filed an “answer or a responsive pleading” to the complaint nor has it yet filed a 12(b)
motion. See Fed. R. Civ. P. 7(a) and McDowell v. Tankinetics, Inc., infra. ExxonMobil has not waived, but
instead has specifically preserved a challenge to personal jurisdiction. ExxonMobil has provided Plaintiffs
with explicit, unambiguous notice that it does not concede personal jurisdiction and will challenge “personal
jurisdiction under 12(b)(2),” and assert other defenses, once the proper forum has been established. (Doc.
4 n.1.) See McDowell v. Tankinetics, Inc., No. 11–3306–CV–S–RED, 2012 WL 828509, at *4 (W.D.Mo.
Mar. 8, 2012), aff'd 507 Fed.Appx. 624, per curiam (May 31, 2013) (“Under Rule 12, a defense is only
waived if it is not included in a responsive pleading or set forth in a motion to dismiss. Rule 12(h)(1)(B)(i)-
(ii). . . . Defendants covered all bases by specifically indicating in their Notice of Removal (Doc. 1) that they
did not intend to waive personal jurisdiction by removing this case to federal court.”).


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                                                 Attorneys for Exxon Mobil Corporation


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 22, 2025, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
notice of electronic filing to counsel of record.


                                                 /s/ Richard N. Bien
                                                 Richard N. Bien
                                                 An Attorney for Exxon Mobil Corporation




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